USDC IN/ND case 3:08-cr-00129-RLM-SJF        document 91   filed 03/16/09   page 1 of 1


                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                )
                                         )
             vs.                         )          No. 3:08-CR-00129(1)
                                         )
 JOHN A. FREDERICK                       )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on February 23, 2009 [Doc. No. 79].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant John Frederick’s plea of guilty, and FINDS the defendant

 guilty of Count 12 of the Indictment, in violation of 18 U.S.C. §§ 2 and 659.

       SO ORDERED.

       ENTERED:      March 16, 2009



                                           /s/ Robert L. Miller, Jr.
                                      Chief Judge
                                      United States District Court
